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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FAYETTEVILLE DIVISION
UNITED STATES OF AMERICA )
Vv. | Case No. 5:19-CR-50079-001
PAUL PETERSEN

PETITION AND ORDER FOR WRIT
HABEAS CORPUS AD PROSEQUENDUM

Comes now the United States Attorney for the Western District of Arkansas and for this
petition, states:

1. That Paul Petersen, defendant herein, is now confined in the Maricopa County
Sheriff's Office, and is being held by the Sheriff thereof.

2. It is requested that said defendant be brought before the United States District Court,
Western District of Arkansas, Fayetteville, Arkansas, for proceedings on the charges now
pending against him and said defendant then be returned to the above-named institution at the
conclusion of all proceedings in the above named Court.

WHEREFORE, your petitioner prays the Court to forthwith order the issuance of a Writ
of Habeas Corpus Ad Prosequendum directed to the following:

Sheriff, Maricopa County Sheriff's Office

requiring them to produce the body of the said defendant before this Court, Fayetteville,
Arkansas, on October 29, 2019, at 2:00 p.m..

 

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S DISTRICT COURT i
WESTERN DIST ARKANSAS Oe
FILED
By:
OCT -9 2019 Clay Fowlkes
: Assistant U.S. Attorney

ee eee ‘Arkansas Bar No. 2003191

. Deputy Clerk 414 Parker Avenue

Fort Smith, AR 72901
(479) 783-5125

fot A Wald this day of October, 2019.

Honorable Erin L. Wiedemann
Chief United States Magistrate Judge

 
